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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE



 UNITED STATES OF AMERICA                            CRIMINAL NO. _________________

    Plaintiff                                       VIOLATIONS:
                                                    21 U.S.C. § 841(a)(1), (b)(1)(D);
       v.                                           21 U.S.C. § 331(k);
                                                    21 U.S.C. § 333(a)(2).
 JOHN F. REILLY

    Defendant
                                                     INDICTMENT


       THE GRAND JURY CHARGES:

                                        INTRODUCTION

       At times material and relevant to this Indictment:

                          THE CONTROLLED SUBSTANCES ACT

       1. The Controlled Substances Act ("CSA"), 21 U.S.C. § 801, et seq., governed the

manufacture, distribution, and dispensing of controlled substances in the United States.

       2. Various prescription drugs were scheduled substances under the CSA. There were

five schedules of controlled substances – schedules I, II, III, IV, and V. Drugs were scheduled

into these levels based in part on their potentiality for abuse. Abuse of Schedule III drugs may

lead to moderate or low physical dependence or high psychological dependence. 21 U.S.C. §

812(b)(2) and (3).

       3. Title 21, Code of Federal Regulations, Section 1306.04(a) provided:

                A prescription for a controlled substance to be effective must be
                issued for a legitimate medical purpose by an individual
                practitioner acting in the usual course of his professional practice.
                The responsibility for the proper prescribing and dispensing of
                controlled substances is upon the prescribing practitioner, but a
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               corresponding responsibility rests with the pharmacist who fills the
               prescription. An order purporting to be a prescription issued not in
               the usual course of professional treatment or in legitimate and
               authorized research is not a prescription within the meaning and
               intent of section 309 of the Act (21 U.S.C. 829) and the person
               knowingly filling such a purported prescription, as well as the
               person issuing it, shall be subject to the penalties provided for
               violations of the provisions of law relating to controlled
               substances.

       4. The narcotic Hydrocodone, when mixed with one or more non-narcotic active

ingredients, was classified under federal narcotics laws as a Schedule III controlled substance.

21 C.F.R. § 1308.13(e)(1)(iv).

       5. The narcotic Codeine, when mixed with one or more non-narcotic active ingredients,

was classified under federal narcotics laws as a Schedule III controlled substance. 21 C.F.R.

§ 1308.13(e)(1)(ii).

                  THE FEDERAL FOOD, DRUG, AND COSMETIC ACT

       6. The United States Food and Drug Administration ("FDA") was the agency of the

United States charged with the responsibility of protecting the health and safety of the American

public by assuring, among other things, that drugs sold to humans were safe and effective for

their intended uses and bore labeling containing true and accurate information. FDA's

responsibilities included regulating the labels, labeling, distribution, and manufacture of

prescription drugs shipped or received in interstate commerce.

       7. FDA was also responsible for, among other things, enforcing the provisions of the

Federal Food, Drug, and Cosmetic Act ("FDCA"), 21 U.S.C. § 301, et seq.




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       8.       Under the FDCA, the term "drug" included articles which were (1) intended for

use in the diagnosis, cure, mitigation, treatment, or prevention of disease in man; or (2) intended

to affect the structure or any function of the body of man. 21 U.S.C. § 321(g)(1)(B) and (C).

       9. Under the FDCA, a “prescription drug” was a drug intended for use by people that,

because of its toxicity or potential for harmful effect, the method of its use, or the collateral

measures necessary for its use, was not safe for use except under the supervision of a practitioner

licensed by law to administer such drug; or a drug which FDA required to be administered under

the professional supervision of a practitioner licensed by law to administer such drug as a

condition of FDA approving the drug to be placed on the market. 21 U.S.C. § 353(b)(1)(A) and

(B).

       10. Vicodin (Hydrocodone/APAP), described as a Schedule III controlled substance in

paragraph 4 above, was indicated for the treatment of moderate to severe pain, and was a

prescription drug within the meaning of Title 21, United States Code, Section 353(b)(l)(A) and

(B).

       11. Acetaminophen/Codeine (e.g., Tylenol with Codeine #4, Codrix, Vopac), described

as a Schedule III controlled substance in paragraph 5 above, was indicated for the treatment of

mild to moderate pain, and was a prescription drug within the meaning of Title 21, United States

Code, Section 353(b)(l)(A) and (B).

       12. The prescription drugs Vicodin (Hydrocodone/APAP) and Acetaminophen/Codeine

and components of these prescription drugs were transported in interstate commerce to the State

of New Hampshire.




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       13.       Under Title 21, United States Code, Section 331(k), it was illegal to do or to

cause to be done any act with respect to a drug if the act was done while the drug was held for

sale after shipment in interstate commerce and the act resulted in the drug being misbranded.

       14. A prescription drug was misbranded when it was not dispensed pursuant to a

prescription of a practitioner licensed by law to administer such drug. 21 U.S.C. § 353(b)(1).

                                          DEFENDANT

       15. Defendant JOHN F. REILLY was a pharmacist licensed in the State of New

Hampshire. From in or around January 2001 until on or about June 26, 2006, REILLY was

employed as the Pharmacist-in-Charge at the Wal-Mart Pharmacy located in Newington, New

Hampshire.

                             COUNTS ONE THROUGH FOUR
                               21 U.S.C. §§ 841(a)(1), (b)(1)(D)
                        (Unlawful Dispensing of Controlled Substances)

       16. The factual allegations in paragraphs 1-15 of the Indictment are incorporated by

reference and realleged as though fully set forth herein.

       17. On at least four separate occasions known to the Grand Jury, customer J.L presented

to REILLY at the Newington, New Hampshire Wal-Mart Pharmacy a previously filled

prescription for Schedule III controlled substances that had no refills available.

       18. On each of the four occasions, in response to the previously filled prescription with

no available refills, REILLY generated a fax refill request form, which should have been faxed

to the prescribing physician for authorization prior to distributing and dispensing the controlled

substances.




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       19.     REILLY did not send the four fax refill request forms to the purported

prescribing physicians, or otherwise contact the physicians, for authorization.

       20. Although REILLY never obtained physician authorization or approval to dispense

the controlled substances pursuant to the four fax refill request forms, he distributed and

dispensed the controlled substances to J.L.

       21. The four fax refill request forms were not effective prescriptions because they were

not issued for a legitimate medical purpose by an individual practitioner acting in the usual

course of his professional practice, namely, no physician ever authorized the distribution or

dispensing of controlled substances pursuant to the fax refill request forms.

       22. On or about the dates listed below, in the District of New Hampshire and elsewhere,

                                       JOHN F. REILLY

the defendant herein, did knowingly and intentionally distribute and dispense controlled

substances other than for a legitimate medical purpose and not in the usual course of medical

practice, each such instance being a separate Count of this Indictment:

 COUNT         DATE                   CONTROLLED SUBSTANCE DISPENSED
 ONE           2/28/05     70 Vicodin 7.5/750 mg tablets distributed and dispensed to J.L. in
                           Newington, NH
 TWO           1/10/06     90 Hydrocodone/Acetaminophen 10/325 mg tablets distributed and
                           dispensed to J.L. in Newington, NH
 THREE         4/26/06     100 Acetaminophen/Codeine 300/60 mg tablets distributed and
                           dispensed to J.L. in Newington, NH
 FOUR          5/16/06     30 Vicodin 7.5/750 mg tablets distributed and dispensed to J.L. in
                           Newington, NH


All in violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(D).


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                            COUNTS FIVE THROUGH EIGHT
                         21 U.S.C. 331(k), 333(a)(2), and 353(b)(1)
                  (Causing the Misbranding of a Drug While Held for Sale)

       23. The factual allegations in paragraphs 1-21 of the Indictment are incorporated by

reference and realleged as though fully set forth herein.

       24. On or about the dates listed below, in the District of New Hampshire and elsewhere,

                                       JOHN F. REILLY

the defendant herein, with the intent to defraud and mislead, did dispense and cause to be

dispensed the prescription drugs Vicodin (Hydrocodone/Acetaminophen) and Acetaminophen/

Codeine without the prescription of a practitioner licensed by law to administer the drug, while

the drugs were held for sale and after the drugs had been shipped in interstate commerce, which

acts resulted in the drugs being misbranded within the meaning of Title 21, United States Code,

Section 353(b)(1), each such instance being a separate Count of this Indictment:

  COUNT       DATE         PRESCRIPTION DRUGS DISPENSED
    FIVE      2/28/05      70 Vicodin 7.5/750 mg tablets distributed and dispensed to J.L. in
                           Newington, NH
     SIX      1/10/06      90 Hydrocodone/Acetaminophen 10/325 mg tablets distributed and
                           dispensed to J.L. in Newington, NH
  SEVEN       4/26/06      100 Acetaminophen/Codeine 300/60 mg tablets distributed and
                           dispensed to J.L. in Newington, NH
   EIGHT      5/16/06      30 Vicodin 7.5/750 mg tablets distributed and dispensed to J.L. in
                           Newington, NH

       All in violation of Title 21, United States Code, Sections 331(k) and 333(a)(2).




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                           NOTICE OF CRIMINAL FORFEITURE
                                    [21 U.S.C. § 853]

       As a result of the Title 21 offenses alleged in Counts One through Eight of this

indictment, the defendant, JOHN F. REILLY, shall forfeit to the United States, pursuant to

21 U.S.C. § 853, any and all property constituting or derived from proceeds the defendant

obtained directly or indirectly as a result of the said violation, and any and all property used, or

intended to be used, in any manner or part to commit and to facilitate the commission of the

violation.

                                                        TRUE BILL

                                                        /s/ Foreperson of the Grand Jury
                                                        Foreperson of the Grand Jury

JOHN P. KACAVAS
UNITED STATES ATTORNEY


/s/ Mark A. Irish
Mark Irish
Assistant United States Attorney


/s/ Shannon M. Singleton
Shannon M. Singleton
Special Assistant United States Attorney

Dated: September 30, 2009




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